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         IN THE UNITED STATES DISTRICT COURT
            NORTHERN DISTRICT OF FLORIDA
                TALLAHASSEE DIVISION

DONALD FALLS, et al.,

           Plaintiffs,


v.                             Case No.: 4:22cv166-MW/MAF


RON DESANTIS, in his official
Capacity as Governor of Florida,
et al.,

        Defendants.
__________________________/

                INITIAL SCHEDULING ORDER

     Federal Rule of Civil Procedure 1 seeks a “just, speedy, and inex-

pensive determination of every action.” To accomplish that purpose,

and in accordance with Rule 16(b), it is ORDERED:

     (1) DISCOVERY PERIOD:

       (a) The parties must begin discovery immediately. The parties

are further directed to conduct discovery so that the due date of any

discovery requested shall not be later than September 1 , 2022. The

conduct of any discovery which would require a later due date shall be

permitted only on order of the Court. An extension of time will ordi-

narily be granted only for good cause and upon showing of diligence
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during the initial discovery period. See N.D. Fla. Loc. R. 6.1. The filing

of motions shall not operate to toll or extend the discovery cut-off date

set forth in this paragraph. The parties must not delay discovery because

a motion to dismiss is pending.

       (b) No later than 30 days from the date of this order, and every

30 days thereafter, the parties must file a joint status report stating what

discovery requests each party has made and the status of the response

to each request. The purpose of this requirement is to allow the Court

to assess the diligence of the conduct of discovery.

       (c) This Court’s intent is to encourage early discovery and dis-

courage discovery at the eleventh hour unless it is truly necessary. The

parties are advised to make discovery requests no later than 75 days

before the end of the discovery period. Unless otherwise ordered by the

Court, motions to compel discovery are due no later than 30 days before

the close of discovery. The Court will ordinarily entertain a motion to

compel brought during the last 30 days of discovery only on a showing

of reasonable diligence during the discovery period and the discovery

dispute in question arose during the last 30 days of discovery.




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      (2) RULE 26 REQUIREMENTS: This scheduling order is entered

prior to the conference of parties and the filing of the joint report re-

quired under Federal Rule of Civil Procedure 26(d), so that discovery

may proceed immediately and without unnecessary delay. Modifica-

tions may be made to this order upon consideration of the parties’ joint

report. The following will be required of all parties to this litigation:

       (a) CONFERENCE     OF   PARTIES   AND   FILING   OF   JOINT REPORT:

Counsel of record and any unrepresented parties shall confer (person-

ally, by phone, or electronically) within 30 days from the date of this

order, as required by Rule 26(f), and the joint report to the Court [see

Form 52] shall be filed within 14 days thereafter. The plaintiff shall

initiate arrangements for the conference and filing of the report, but the

Court shall hold all parties equally responsible for ensuring that the

conference is held and the report filed as required. If the parties are

unable to agree, each party=s position shall be set out in the filed joint

report. In addition to the matters set out in Rule 26(f), the following

shall also be discussed at the conference and specifically addressed in

the joint report:




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           (i) The matter of magistrate judge jurisdiction over the case. In

accordance with Rule 73.1(A) of the Local Rules, the parties are di-

rected to confer regarding their willingness to consent to magistrate

judge jurisdiction, and the joint report should reflect this discussion.

However, the joint report should state only that the parties have con-

ferred regarding this issue. The parties may withhold consent if they so

choose. Under no circumstances should the parties indicate their re-

spective positions on the matter of consent in the joint report. If all par-

ties, after conferring with one another, elect to consent to magistrate

judge jurisdiction, the attached form of consent should be signed by all

parties and filed in the Clerk=s office. It shall be plaintiff=s responsibility

to forward the form to defendant(s), who, in turn, shall have the respon-

sibility of filing the document. The form should be filed only if all

parties have consented and signed the form. If any party elects not to

consent, the form should not be returned.

           (ii) The nature and basis of all claims and defenses, and a

good faith attempt to identify the principal factual and legal issues in

dispute.

           (iii) The possibility for prompt settlement or resolution of the

case, and whether mediation (or any other alternative dispute resolution


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process) might be helpful in settlement, either now or after certain lim-

ited discovery has taken place.

        (iv) Proposed timetables and cutoff dates for the joinder of

other parties, amendments to the pleadings, and the filing of motions

and responses, and in particular, whether this initial scheduling order

should be revised or amended in any way.

        (v) The parties= respective discovery requirements in this case,

and if the parties deem this initial scheduling order to be inadequate,

they shall develop an alternate proposal which specifically addresses

the timing and form of discovery, whether discovery should be con-

ducted in phases or limited in any respect, and what, if any, changes

should be made in the discovery procedures and time deadlines set out

in this initial scheduling order, or in the applicable rules.

        (vi) Whether any party will likely request or produce infor-

mation from electronic or computer-based media:

          1. whether disclosure or production will be limited to data rea-

sonably available to the parties in the ordinary course of business. Ab-

sent a showing of good cause, the Court will not require the production

of back-up or historic legacy data, nor will it require the production of




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data that is not reasonably available in the ordinary course of business

in reasonably usable form;

          2. if data beyond what is reasonably available to the parties in

the ordinary course of business is to be sought, the anticipated scope,

cost and time required for its disclosure or production, and who will

bear the cost;

          3. the format and media agreed to by the parties for the pro-

duction of any electronic or computer-based data, as well as agreed pro-

cedures for such production;

          4. whether reasonable measures have been taken to preserve

potentially discoverable data from alteration or destruction in the ordi-

nary course of business or otherwise;

          5. procedures to deal with inadvertent production of privi-

leged information; and

          6. other problems which the parties anticipate may arise in

connection with electronic or computer-based discovery.

        (vii) A good faith estimate as to when the parties believe the

case will be ready for trial (month and year). This date will be set out

in the joint report, and if it is not within 8 months from the date of filing

of this case, an explanation must be included.


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        (viii) Any other matters which the parties deem appropriate

with regard to specific aspects or the uniqueness of this case, and in-

cluding any applicable subject within Rule 16(c).

        (ix) The parties are directed to inform the Court in their joint

report if it appears that this case should be made subject to the Manual

for Complex Litigation.

      (b) INITIAL DISCLOSURES. The initial disclosures required by

Rule 26(a)(1) shall be provided (unless otherwise stipulated), without

awaiting a discovery request, to all other parties within 14 days from

the date of the parties= conference required under Rule 26(f).

      (c) EXPERT DISCLOSURES. Rule 26(a)(2) disclosures of expert

witnesses and their opinions shall be made by the plaintiff within 60

days from the date of this scheduling order, and by the defendant or

defendants within 30 days thereafter. Third parties or parties added or

joined later shall disclose their experts under Rule 26(a)(2) within 60

days after appearance in this case, or within 30 days after the disclosure

by the opposing party, whichever is the longer period. Rebuttal expert

reports are due within the time set by Rule 26(a)(2)(d)(ii). Expert wit-




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nesses not timely disclosed as required by Rule 26(a)(2), or whose opin-

ions have been significantly modified or changed after discovery has

ended, will normally not be permitted to testify at trial.

      (d) PRETRIAL DISCLOSURES. The Rule 26(a)(3) pretrial disclo-

sures are not required at this time. The Court will enter an order after

the completion of discovery which will set a pretrial conference and

will specify the parties= comprehensive trial disclosure and preparation

requirements.

        (3) ADDITIONAL COURT ACTION          OR   SCHEDULING CONFER-

ENCE.    The Court will promptly consider the parties= filed joint report,

and will take one of the following courses of action within 14 days

thereafter:

        (a) Enter a final scheduling order by modifying this initial sched-

uling order as the presiding judge deems appropriate in light of the par-

ties= joint report, or by adopting the parties= report, or by confirming the

requirements of this order.

        (b) Set the matter for a Rule 16 scheduling conference, either for

the attorneys= (and any unrepresented parties=) personal attendance, or

to be conducted by telephone. A final scheduling order will be entered

thereafter.

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      (c) If the Court takes no action within 14 days from the filing of

the joint report, this initial scheduling order will continue in full force

and effect until some further order of this Court.

      (d) If any party so requests by motion, a scheduling conference

or preliminary pre-trial conference may be held, by telephone or in per-

son, to address any of the matters set out in Rule 16(a), (b), and (c),

Federal Rules of Civil Procedure.

     (4) INTERROGATORIES. The number of interrogatories shall be

governed by Rule 33(a), Federal Rules of Civil Procedure.

     (5) SCHEDULE OF PRETRIAL MATTERS. In accordance with Rule

16(b), Federal Rules of Civil Procedure, the following schedule shall

apply to this case, unless excluded by Local Rule 16.1, or unless any

party shall file an objection or request for a different schedule within

44 days from the date of this order, viz:

      (a) Joinder of other parties and amendments of pleadings shall be

accomplished by the service and filing of the appropriate motions or

pleadings within the time required by the Federal Rules of Civil Proce-

dure or the Local Rules of this Court, except as noted below.




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       (b) All motions and responses shall be served and filed within

 the time required by the Federal Rules of Civil Procedure or the Local

 Rules of this Court.

       (c) Motions for summary judgment shall be filed as promptly as

 possible, but, unless otherwise permitted by court order, not later than

 21 days after the close of discovery.

       (d) Motions filed may be disposed of without hearing. See N.D.

 Fla. Loc. R. 7.1.

       (e ) If the rules and this order do not provide a time for the filing

 or service of motions or pleadings, then such motions or pleadings shall

 be served and filed within the period provided for the completion of

 discovery.

      (6) ATTORNEYS= DISCOVERY OBLIGATIONS. The Rules of Civil

 Procedure set out explicit time limits for responses to discovery re-

 quests. If an attorney cannot respond on time, this fact should be com-

 municated by the most expeditious means to opposing counsel; and if

 consent to an extension of time cannot be obtained, a motion requesting

 the same should be immediately filed and served. In the meantime, no

 motion to compel a response shall be filed. Stipulations extending the




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 time for responses to discovery may be made only as authorized by

 Federal Rule of Civil Procedure 29 and Local Rule 6.1.

      (7) RULE 37 AWARDS OF MOTION EXPENSES. The Court will or-

 dinarily award counsel fees for time spent in filing (and arguing) a mo-

 tion to compel if such a motion is necessary to make the recalcitrant

 party respond, or for time spent in opposing (and arguing) such a mo-

 tion that is found to be unnecessary or without basis. Certification of

 all discovery requests, responses, and objections is required under Rule

 26(g), and violations thereof will be subject to sanctions.

      (8) RESOLUTION      OF   DISCOVERY CONTROVERSIES.         Counsel

 should attempt to resolve discovery controversies without the Court’s

 intervention. The Court will entertain a motion with respect to matters

 which remain in controversy only if, after consultation and sincere at-

 tempts to resolve differences, counsel are unable to reach an accord.

 Any motion filed shall include certification that such attempts have

 been made, in accordance with Local Rule 7.1(B) and (C), and Federal

 Rule of Civil Procedure 37, and shall be in the form required by Local

 Rule 26.2(G)(3). Counsel=s attention is also directed to the supplemen-

 tation requirements of Rule 26(e) and their obligations under Rule




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 26(g), as well as counsel=s potential liability for excessive costs under

 28 U.S.C. § 1927.

       (9) ATTORNEY’S FEE RECORDS. Local Rule 54.1 applies. A

 party must not file attorney’s fee records until needed.

       (10) SUMMARY JUDGMENT. Local Rule 56.1 applies to sum-

 mary-judgment motions. Additionally, the parties must use the follow-

 ing procedures for filing summary judgment papers:

        (a) First, file a notice listing exhibits to be filed in support of or

 in opposition to summary judgment. Include the exhibits as attachments

 to the notice on CM/ECF. Exhibits that cannot be filed on CM/ECF

 must be submitted to the Clerk along with a hard-copy notice of filing.

        (b) Second, file the summary judgment memorandum (motion,

 response, or reply) pinciting to the ECF number for the exhibit attached

 to the notice listing the exhibits.

        (c) To the extent it is technologically feasible, each part must:

           (i) Highlight the portion of the exhibit it wishes this Court to

 look at; and

           (ii) File deposition transcripts in a form where the text of the

 testimony is searchable with the control-F function.




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       (d) The parties should take note that this Court reviews the cited

 portions of the record. Discrepancies between factual assertions in the

 parties’ memoranda and the actual record do not go unnoticed. The par-

 ties should take care to distinguish between record evidence and infer-

 ences which can reasonably be made from that evidence.

      (11) FILING OF RULE 26 DISCLOSURES AND DISCOVERY MATE-

 RIALS.   In accordance with Federal Rule of Civil Procedure 5(d), the

 parties shall serve but shall not file with the Clerk copies of discovery

 materials (including notices of deposition, deposition transcripts, inter-

 rogatories, responses to interrogatories, production requests, responses

 to production requests, admissions requests, or responses to admissions

 requests), unless and until needed for consideration of pending motions

 by the Court. The parties need not serve and shall not file with the

 Clerk separate notices of serving interrogatories or interrogatory re-

 sponses, notices of serving production requests or responses, or notices

 of serving admissions requests or responses. Contrary to standard prac-

 tice under Rule 5(d)(1), the parties must file disclosures under Federal

 Rules of Civil Procedure 26(a)(1) and 26(a)(2), and any supplements to

 those disclosures, no later than 7 days from the date the disclosure is

 served on the opposing party. See Fed. R. Civ. P. 5(d)(1). Each party


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 must file only the disclosing paper, and not underlying documents. Any

 supplemental disclosure must reflect the changes in bold or by high-

 light.

          (12) ELECTRONIC FILING. Each party represented by an attorney

 is required to file documents electronically, not in paper form, with

 limited exceptions. Compliance with this requirement is mandatory.

 Paper filings are a burden on the Clerk of the Court, delay the transmis-

 sion of the documents to the judge, and waste the judge=s time. When-

 ever a party files an amended paper, e.g., an amended motion to dis-

 miss, the amended paper must clearly state at the outset the nature of

 the amendment and the reason for it.

          (13) DISCLOSURE STATEMENT. Each nongovernmental corpo-

 rate party must file a statement that identifies any parent corporation

 and any publicly held corporation that owns 10% or more of its stock

 or states that there is no such corporation. The deadline for filing the

 statement is set forth in Fed. R. Civ. P. 7.1, and, if not filed sooner, the

 statement must in any event be filed within 14 days of the date of this

 order. A supplemental statement must be filed upon any change in the

 information that the statement requires.




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      (14) AMENDMENTS. This order may be amended by the Court on

 its own motion or upon motion of any party.

 SO ORDERED on May 5, 2022.

                         s/Mark E. Walker                   ____
                         Chief United States District Judge




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     FLN Form 85 (rev. 8/98) Notice, Consent, and Order of Reference - Exercise of Jurisdiction by a United States Magistrate Judge



                                   UNITED STATES DISTRICT COURT
                                     NORTHERN DISTRICT OF FLORIDA
                                       TALLAHASSEE DIVISION

DONALD FALLS, et al.,

                Plaintiffs,


v.                                              Case No.: 4:22-cv-00166-MW-MAF


 RON DESANTIS, in his official
Capacity as Governor of Florida,
et al.,

        Defendants.
__________________________/


 NOTICE OF AVAILABILITY OF A UNITED STATES MAGISTRATE JUDGE
                  TO EXERCISE JURISDICTION

       In accordance with the provisions of 28 U.S.C. '636(c), and Fed.R.Civ.P. 73, you
are notified that a United States magistrate judge of this district court is available to con-
duct any or all proceedings in this case including a jury or nonjury trial, and to order the
entry of a final judgment. Exercise of this jurisdiction by a magistrate judge is, however,
permitted only if all parties voluntarily consent.

       You may, without adverse substantive consequences, withhold your consent, but
this will prevent the court=s jurisdiction from being exercised by a magistrate judge. If
any party withholds consent, the identity of the parties consenting or withholding consent
will not be communicated to any magistrate judge or to the district judge to whom the
case has been assigned.

      An appeal from a judgment entered by a magistrate judge shall be taken directly to
the United States court of appeals for this judicial circuit in the same manner as an appeal
from any other judgment of this district court.
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    FLN Form 85 (rev. 8/98) Notice, Consent, and Order of Reference - Exercise of Jurisdiction by a United States Magistrate Judge

  CONSENT TO THE EXERCISE OF JURISDICTION BY A UNITED STATES
                     MAGISTRATE JUDGE

        In accordance with provisions of 28 U.S.C. '636(c) and Fed.R.Civ.P. 73, the par-
ties in this case consent to have a United States magistrate judge conduct any and all pro-
ceedings in this case, including the trial, order the entry of a final judgment, and conduct
all post-judgment proceedings.

  Party Represented                                  Signatures                                          Date




                                            ORDER OF REFERENCE

       IT IS ORDERED that this case be referred to                                 ,
United States Magistrate Judge, to conduct all proceedings and order the entry of judg-
ment in accordance with 28 U.S.C. '636(c), Fed.R.Civ.P. 73, and the foregoing consent
of the parties.


                              Date                                               United States District Judge

NOTE:    RETURN THIS FORM TO THE CLERK OF THE COURT ONLY IF ALL
    PARTIES HAVE CONSENTED ON THIS FORM TO THE EXERCISE OF JU-
    RISDICTION BY A UNITED STATES MAGISTRATE JUDGE.
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    FLN Form 85 (rev. 8/98) Notice, Consent, and Order of Reference - Exercise of Jurisdiction by a United States Magistrate Judge

              NOTICE OF RIGHT TO CONSENT TO DISPOSITION OF
             CIVIL CASE BY A UNITED STATES MAGISTRATE JUDGE

        Under 28 U.S.C. ' 636(c)(1), full-time magistrate judges are authorized to exercise
civil jurisdiction, including trial of the case and entry of final judgment, upon consent of
the parties. Due to the district courts= heavy trial schedules, such consent to magistrate
jurisdiction often results in more expeditious resolution of cases. The parties are, of
course, entirely free to withhold such consent without any adverse consequences.

       In all civil cases, other than prisoner litigation and social security appeals, the par-
ties shall be required pursuant to the Initial Scheduling Order to confer regarding the mat-
ter of magistrate judge jurisdiction. However, the Joint Report should state only that the
parties have conferred regarding this issue. Under no circumstances should the parties
indicate their respective positions on the matter of consent in the Joint Report.

       Should all parties, after conferring with one another, elect to consent to magistrate
judge jurisdiction, the attached form of consent should be signed by all parties and re-
turned to the court. It shall be plaintiff=s responsibility to forward the form to defend-
ant(s), who, in turn, shall have the responsibility of filing the document with the court
through the clerk=s office. The form should be returned to the court only if all parties
have consented and signed the form. Should any party elect not to consent, the form
should not be returned.

        In prisoner litigation and social security appeals, and any other case in which an In-
itial Scheduling Order is not entered, the clerk shall, after the first responsive pleading is
filed, send a consent form to the plaintiff. If the plaintiff elects to consent, plaintiff shall
sign the form and promptly send it to defendant(s). If defendant(s) also consents and
signs the form, defendant(s) shall promptly return the form to the court. Should any
party elect not to consent, the form should not be returned.

       A party=s decision to consent, or not to consent, to the disposition of the case be-
fore a United States Magistrate Judge is entirely voluntary, and no judge of this court will
be informed of a party=s decision to withhold consent. By returning the consent form
only in cases where all parties consent, the court will not be aware of which party with-
held consent. Where the consent form is not returned to the court during the early stages
of the case, either the district court judge or magistrate judge may again advise the parties
of the availability of the magistrate judge, but in doing so, shall also advise the parties
that they are free to withhold consent without adverse consequences.
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    FLN Form 85 (rev. 8/98) Notice, Consent, and Order of Reference - Exercise of Jurisdiction by a United States Magistrate Judge

      Please note that in the event of consent, the parties may appeal a final judgment
from the magistrate directly to the court of appeals in the same manner as an appeal from
any other judgment of the district court.
